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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                   HARRISONBURG DIVISION

                    CRIMINAL MINUTES - INITIAL APPEARANCE - RULE 5
                            (Complaint/Indictment/Other District)

Case No.: 5:20MJ36                                           Date: 8/7/20

Defendant(s): Damanya Terelle Carter, custody                Counsel: Andrea Harris, AFPD

PRESENT:        Presiding Judge:        Joel C. Hoppe, USMJ        TIME IN COURT: 2:19-2:47=28 minutes
                Deputy Clerk:           Karen Dotson
                Court Reporter:         Karen Dotson, Zoom
                AUSA:                   Sean Welsh
                USPO:                   Brittany Warren
                Case Agent:             n/a
                Interpreter:            n/a


       Defendant arrested on warrant from NDWV – Martinsburg Division

RIGHTS:

       Defendant advised of charges and nature of proceedings and provision of Rule 20.
       Defendant advised of right to retain counsel or to request that counsel be appointed.
       Defendant advised of right to preliminary exam.
       Defendant advised of right to identity hearing.
       Defendant advised of right to a bond/detention hearing.

COUNSEL:

       Defendant present with counsel.
       Defendant present without counsel.
       Defendant requests appointment of counsel. CJA 23 Financial Affidavit completed.

IDENTITY:

       Identity hearing held.
       Identity hearing waived.*

PRELIMINARY HEARING:

       Preliminary hearing held.
       Preliminary hearing waived.*
       Defendant requests preliminary hearing in prosecuting district.*


RELEASE/DETENTION:

       Defendant does not contest detention.
       Government moves for detention.
       Detention hearing held. Record brief minutes of proceeding.
       Government does not oppose bond. Bond set at amount and type of bond. See conditions below.
       Order of Commitment to Another District (AO 94).
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        OR
        Conditions of Release/Bond to enter for reasons as follows:

In addition to the standard conditions of release, the following special conditions of release are imposed:

         The defendant shall avoid contact outside the presence of his/her counsel with any alleged victims or potential
         witnesses regarding his/her case.
         The defendant shall report as directed by the probation officer, and shall promptly report any personal status changes
         to the probation officer: this shall include immediately reporting any contact by law enforcement officers regarding a
         criminal investigation or any additional criminal charges placed against the defendant; the defendant shall continue to
         reside at his/her current residence, and shall not change residences without first obtaining permission from the
         probation officer.
         The defendant shall abstain from the excessive OR any use of alcohol or any use or possession of any controlled
         substances unless prescribed by a licensed treating physician for a legitimate medical purpose.
         The defendant shall not possess a firearm or other dangerous weapon and shall reside in a residence free of such.
         The defendant shall submit to random drug and or alcohol testing as directed by the probation officer.
         The defendant shall not travel outside the Western District of Virginia without first obtaining permission from the
         probation officer.
         The defendant shall submit to warrantless search and seizure of his/her person and property as directed by the
         probation officer for the purpose of determining if he/she is in compliance with his/her conditions of pretrial release.
         The defendant shall actively seek and/or maintain employment.
         The defendant shall maintain or commence an education program.
         The defendant shall surrender his/her passport to the Probation Office to be held pending further order of the court;
         the defendant shall not apply to obtain a passport.
         The defendant shall not associate with any known users/possessors of illegal controlled substances and shall not be
         present in any location where illegal controlled substances are being used and/or distributed, unless approved by
         his/her supervising officer in cooperation with law enforcement officers.
         The defendant shall be placed on home detention subject to electronic monitoring and all residential absences must be
         approved in advance by the probation officer.
         The defendant shall continue in his/her currentmental health OR substance abuse OR both counseling/treatment
         program at his/her own expense.
         The defendant shall allow the probation officer open communication with any treatment agencies or health care
         providers for the purpose of monitoring the defendant's compliance with all treatment requirements.
         Any animals on the premises of the defendant's residence must be restrained in a way so as to not interfere with the
         probation officer's access to the defendant's residence and to ensure the officer's safety.

Additional Information:

All parties present by Zoom video
Dft agrees to proceed by video
Dft sworn
Dft waives identity and removal hearing
Gov't asks for detention based on charge
Dft asks to be released and allowed to self report to Martinsburg
Def proffers bond plan to the court
Court states more information is needed for release
Bond hrg continued until next week, clerk will try to set for Tuesday
Dft remanded to USM custody




*REMINDER: FORM AO466A - WAIVER OF RULE 5 & 5.1 HEARING MUST BE COMPLETED AND SIGNED BY
DEFENDANT.
